                                   Case 1:19-cv-03675 Document  2 Filed 12/10/19 Page 1 of 1
                                                        &/(5. 62)),&(                           =                                                                             &2
                                                                     81,7('67$7(6',675,&7&2857                                                                             5HY
                                                                     )257+(',675,&72)&2/80%,$

                                            127,&(2)'(6,*1$7,212)5(/$7('&,9,/&$6(63(1',1*
                                                 ,17+,625$1<27+(581,7('67$7(6&2857

                                                                                                                                                    &LYLO$FWLRQ1RBBBBBBBBBB
                                                                                                                                                                    1:19-cv-03675
                                                                                                                                                     7REHVXSSOLHGE\WKH&OHUN

127,&(723$57,(6

          3XUVXDQWWR5XOH E  \RXDUHUHTXLUHGWRSUHSDUHDQGVXEPLWWKLVIRUPDWWKHWLPHRIILOLQJDQ\FLYLODFWLRQZKLFKLV
UHODWHGWRDQ\SHQGLQJFDVHVRUZKLFKLQYROYHVWKHVDPHSDUWLHVDQGUHODWHVWRWKHVDPHVXEMHFWPDWWHURIDQ\GLVPLVVHGUHODWHGFDVHV
7KLVIRUPPXVWEHSUHSDUHGLQVXIILFLHQWTXDQWLW\WRSURYLGHRQHFRS\IRUWKH&OHUN=VUHFRUGVRQHFRS\IRU WKH -XGJH WR ZKRP WKH
FDVHVLVDVVLJQHGDQGRQHFRS\IRUHDFKGHIHQGDQWVRWKDW\RXPXVWSUHSDUHFRSLHVIRUDRQHGHIHQGDQWFDVHFRSLHVIRUD WZR
GHIHQGDQWFDVHHWF

127,&(72'()(1'$17

        5XOH E  RIWKLV&RXUWUHTXLUHVWKDW\RXVHUYHXSRQWKHSODLQWLIIDQGILOHZLWK\RXUILUVWUHVSRQVLYHSOHDGLQJRUPRWLRQ
DQ\REMHFWLRQ\RXKDYHWRWKHUHODWHGFDVHGHVLJQDWLRQ

127,&(72$//&2816(/

          5XOH E  RIWKLV&RXUWUHTXLUHVWKDWDVVRRQDVDQDWWRUQH\IRUDSDUW\EHFRPHVDZDUHRIWKHH[LVWHQFHRIDUHODWHGFDVH
RUFDVHVVXFKDWWRUQH\VKDOOLPPHGLDWHO\QRWLI\LQZULWLQJWKH-XGJHVRQZKRVHFDOHQGDUVWKHFDVHVDSSHDUDQGVKDOOVHUYHVXFKQRWLFH
RQFRXQVHOIRUDOORWKHUSDUWLHV
                                                            BBBBBBBBBBBBBBB

7KHSODLQWLIIGHIHQGDQWRUFRXQVHOPXVWFRPSOHWHWKHIROORZLQJ

,         5(/$7,216+,32)1(:&$6(723(1',1*5(/$7('&$6( 6 

           $QHZFDVHLVGHHPHGUHODWHGWRDFDVHSHQGLQJLQWKLVRUDQRWKHU86&RXUWLIWKHQHZFDVH>&KHFNDSSURSULDWHER[ H=V
           EHORZ@

                             D           UHODWHVWRFRPPRQSURSHUW\

                   ✘         E           LQYROYHVFRPPRQLVVXHVRIIDFW

                             F           JURZVRXWRIWKHVDPHHYHQWRUWUDQVDFWLRQ

                             G           LQYROYHVWKHYDOLGLW\RULQIULQJHPHQWRIWKHVDPHSDWHQW

                             H           LVILOHGE\WKHVDPHSURVHOLWLJDQW

         5(/$7,216+,32)1(:&$6(72',60,66('5(/$7('&$6( (6

           $QHZFDVHLVGHHPHGUHODWHGWRDFDVHGLVPLVVHGZLWKRUZLWKRXWSUHMXGLFHLQWKLVRUDQ\RWKHU86&RXUWLIWKHQHZFDVH
           LQYROYHVWKHVDPHSDUWLHVDQGVDPHVXEMHFWPDWWHU

           &KHFNER[LIQHZFDVHLVUHODWHGWRDGLVPLVVHGFDVH

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           &2857 


         &$37,21$1'&$6(180%(52)5(/$7('&$6( (=6 ,)025(5220,61(('3/($6(86(27+(56,'(
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             Citizens for Responsibility and Ethics in Washington



               12/10/19                                         /s/ Amy Jeffress
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